      Case 4:19-cv-01209 Document 16 Filed on 10/01/19 in TXSD Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JANE DOE,                                    §
                                             §
               Plaintiff                     §
                                             §              CIVIL ACTION NO. 4:19-cv-1209
v.                                           §
                                             §                             JURY DEMANDED
PRAIRIE VIEW A&M UNIVERSITY                  §
                                             §
               Defendant.                    §

                           PLAINTIFF’S NOTICE OF SETTLEMENT

       Plaintiff Jane Doe hereby informs the Court with notice that the parties have reached a

settlement of all matters involving the allegations made in the complaint and intend to file agreed

documents of dismissal within sixty (60) days.

DATED: October 1, 2019

                                             Respectfully submitted,

                                             ABRAHAM, WATKINS, NICHOLS,
                                             SORRELS, AGOSTO & AZIZ

                                             /s/Muhammad S. Aziz                     _
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                                             State Bar No. 24043538
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                                             ATTORNEYS FOR PLAINTIFF
     Case 4:19-cv-01209 Document 16 Filed on 10/01/19 in TXSD Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served upon
opposing counsel on October 1, 2019 via the Court’s ECF/CMF electronic filing and service
system.


                                                   /s/ Muhammad S. Aziz
                                                   Muhammad S. Aziz




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